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6

7     Attorneys for Plaintiff
8
                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
      ANN FOX, individually and on behalf )           Case No. 2:14-cv-09327-RGK-AJW
11    of all others similarly situated,   )
12                                        )           NOTICE OF VOLUNTARY
      Plaintiff(s)                        )           DISMISSAL WITHOUT
13
                                          )           PREJUDICE
             vs.
14                                        )
                                          )
15    NCSPLUS INCORPORATED,
                                          )
16    Defendant.                          )
17

18          NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19    Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case without
20    prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
21    motion for summary judgment. Although this case was filed as a class action, no
22    class has been certified, and court approval of this voluntary dismissal is therefore
23    not required under Rule 23(a) of the Federal Rules of Civil Procedure.
24          RESPECTFULLY SUBMITTED this 21st day of April, 2015.
25

26                              By:    s/Todd M. Friedman
                                       Todd M. Friedman, Esq.
27
                                       Law Offices of Todd M. Friedman, P.C.
28                                     Attorney for Plaintiff



                                         Notice of Dismissal - 1
     Case 2:14-cv-09327-RGK-AJW Document 15 Filed 04/21/15 Page 2 of 2 Page ID #:46



1     Filed electronically on this 21st day of April, 2015, with:
2
      United States District Court CM/ECF system
3

4     And hereby served upon all parties
5
      Notification sent on this 21st day of April, 2015, via the ECF system to:
6

7     Honorable R. Gary Klausner
      United States District Court
8
      Central District of California
9
      And mailed to:
10

11    Katherine Olson
12    Messer, Stilp & Strickler, Ltd.
      166 W. Washington St., Suite 300
13
      Chicago, Illinois 60602
14

15
      This 21st day of April, 2015.
16    By: s/Todd M. Friedman
17
          Todd M. Friedman

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                                         Notice of Dismissal - 2
